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10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12                                     SOUTHERN DIVISION
13    MACOM Technology Solutions Inc.,                        Case No. 8:19cv-00220-JVS-JDE
14    a Delaware corporation;
      Mindspeed Technologies, S.A.S., a                  Litrinium, Inc.’s Motion for Plaintiffs’
15    French corporation,                                  Pre-Discovery Disclosure of Their
                                                                     Trade Secrets
16                       Plaintiffs;
17
            v.                                           Motion Assigned to: Hon. John D. Early
18                                                       Hearing Date:       June 20, 2019 at 10:00 a.m.
      Litrinium, Inc., a Delaware corporation;           Courtroom:          6A
19    Jerome Garez, an individual; and
20    Does 1 through 20, inclusive,                      Discovery Cut-Off: April 6, 2020
                                                         Pretrial Conference: August 3, 2020
21                       Defendants.                     Trial Date:          August 18, 2020
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 1                             NOTICE OF MOTION AN MOTION
 2        PLEASE TAKE NOTICE that that on Thursday, June 20, 2019, at 10:00 a.m. in
 3   Courtroom 6A of this Court at 411 West 4th Street, Santa Ana, California, 92701, or at
 4   such other date and time that the Court may determine, before the Honorable John D.
 5   Early, United States Magistrate Judge, Defendant Litrinium, Inc. will and hereby does
 6   move the Court for a protective order, pursuant to the Court’s instructions at the Rule 16
 7   case management conference as well a Federal Rule of Civil Procedure 26(c), barring
 8   Plaintiffs from taking discovery related to their trade-secret claims until after Plaintiffs
 9   identify their asserted trade secrets with reasonable particularity.
10        During the Court’s Rule 16 case management conference on May 6, 2019. Judge
11   Selna observed that the California statute “anticipates that a detailed statement of the
12   trade secret be made as a condition to going forward with discovery.” Plaintiffs stated that
13   the allegations of trade secrets made in the First Amended Complaint “sufficiently
14   addressed” the issue of “getting a more definitive statement of what the trade secret is.”
15   But Plaintiffs’ First Amended Complaint only sets for broad categories of information
16   that cover every aspect of transimpedance amplifiers (“TIAs”), which are general
17   products that Plaintiffs, Litrinium, and others in the industry design and sell. Plaintiffs’
18   FAC, accordingly, does not provide particular identification of Plaintiffs’ asserted trade
19   secrets in such a way to permit Litrinium to prepare discover and defend against
20   Plaintiffs’ claims.
21        At the Court’s Rule 16 case management conference, Judge Selna also stated that if
22   Litrinium found Plaintiffs’ disclosure to be insufficient, then the matter should be brought
23   to Magistrate Judge Early on an expedited basis. Accordingly, Litrinium moves for an
24   expedited procedure to address the sufficiency of Plaintiffs’ disclosure of their trade
25   secrets as follows:
26        1.   Litrinium is to serve detailed objections to any statement within three business
27             days of receipt of Plaintiffs’ statement;
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 1       2.   Within three days from receiving the objections, Plaintiffs must meet and confer
 2            and definitively state their position, including proposing modifications;
 3       3.   Litrinium is to agree to the proposed modifications, if satisfactory, within two
 4            business days; and
 5       4.   Litrinium’s obligations with respect to any discovery by Plaintiffs, including
 6            Plaintiffs’ First Set of Requests for Production to Defendant Litrinium, Inc. and
 7            Plaintiffs’ First Set of Interrogatories to Defendant Litrinium, Inc., are stayed
 8            until 14 days after the later of (a) the date on which Litrinium has advised
 9            Plaintiffs that it does not challenge (or challenge further) the sufficiency of their
10            asserted trade secrets disclosure or (b) the date on which the Court (including
11            review by the district judge if sought) has determined that Plaintiffs’ disclosure
12            is sufficient or (c) time period set for response by rule.
13       This Motion is based upon the attached Joint Stipulation Regarding Litrinium, Inc.’s
14   Motion for Plaintiffs’ Pre-Discovery Disclosure of Trade Secrets, the Declaration of
15   Michael I. Katz submitted herewith, the pleadings and records on file in the Action, and
16   such further evidence and argument as may be presented at the hearing on, or in
17   connection with the Court’s determination of, the Motion.
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19   DATED: May 23, 2019                                 Respectfully submitted,
20                                                       M ASCHOFF B RENNAN
21                                                 By: /s/ Jared J. Braithwaite
22                                                     Michael I. Katz
                                                       Charles S. Barquist
23                                                     Jared J. Braithwaite
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                                                         Attorneys for Defendant
25                                                       L ITRINIUM , I NC .
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